Case 6:16-mj-01243-DAB            Document 7         Filed 05/25/16      Page 1 of 1 PageID 55



                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                                       CASE NO: 6:16-mj-1243

 GARY HIRST


                  FINDINGS AND ORDER ON REMOVAL PROCEEDINGS
                       PURSUANT TO RULE 5(C), FED.R.CRIM.P.
         Gary Hirst, having been arrested and presented before me for removal proceedings pursuant to Rule

 5(c), Federal Rules of Criminal Procedure, and having been informed of the rights specified in Rule 5(d)

 thereof, and of the provisions of Rule 20, the following has occurred of record.

         An Initial Appearance on the Rule 5(c) Complaint from Southern District of New York
         was held on May 11, 2016.

         After hearing the evidence, and based on the defendant's waiver of identity hearing, I
         find that GARY HIRST is the person named in the warrant for arrest, a copy of which
         has been produced.

         No preliminary hearing has been held because the defendant elects to have the
         preliminary hearing conducted in the district in which the prosecution is pending.

         It is, therefore,

         ORDERED that GARY HIRST be held to answer in the district court in which the prosecution is

 pending. The defendant was released on a $1,000,000 bond secured by three sureties and $200,000 cash

 which was previously posted in the Southern District of New York in a related case. The defendant will be

 notified by the charging district regarding his next court date.

         DONE and ORDERED in Chambers in Orlando, Florida on May 25, 2016.
